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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISON

ELIZABETH NELSON, et al.,
Case No. 2:23-cv-11597
Hon. Brandy R. McMillion
Plaintiffs, Mag. Judge Curtis Ivy, Jr.

-Ve

ROBERT SCOTT I L E
(city of Warren MAINTENANCE DIVISION SUPERVISO
SERVICE TOWING, INC., ABLE TOWING, LLC, JUL 15 2024

Et al., Defendants. CLERK'S OFFICE

DETROIT

COMBINED RESPONSE TO CITY OF WARREN, ROBERT SCOTT, SERVICE
TOWING INC, HERTZ BROS. et al MOTION TO DISMISS

TRIAL COURT HELD PLAINTIFFS’ STATE A CLAIM UNDER THE 474, 5%,
14™ AMENDMENT WHEN (Ds’) CITY OF WARREN, (D) SCOTT IN
“TANDEM” WITH (Ds’) SERVICE TOWING INC., HERTZ BROS.,
EMPLOYEE SULLIVAN AND SANDRA HERTZ, ENTERED PLAINTIFFS’
LEASED PRIVATE PROPERTY AND TOWED 2 “OPERABLE” VEHICLES
AND TOOK PERSONAL PROPERTY FROM THEIR RESIDENCE
CURTILAGE WITHOUT A SEARCH WARRANT, WITHOUT PROBABLE
CAUSE, WITHOUT TICKET IN VIOLATION OF Collins v. Virginia, 138 S. Ct.
1663, 201 L. Ed. 2d 9 (2018) WITHOUT DUE PROCESS OF LAW

Per law everything in (Ps’) ECF 55 complaint must be accepted as true same as if
rewritten herein: Anderson v Liberty Lobby, 477 US 242, 248,

(Ps’) are pro’se and held to “more liberal standard”, Haines v Kerner, 404 U.S.
519. Per Collins v. Virginia, 138 S. Ct. 1663, 201, reaffirmed 4" Amendment
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included “curtilage has long been black letter law”. "{W]hen it comes ,, Fourth
Amendment, the home is first among equals." Florida v. Jardines, 569 U.S. 1
6, “At the Amendment's ..right of a man to retreat into his own home and there be

free from unreasonable governmental intrusion.’ " Jbid...full practical effect to that
right, the Court considers curtilage—"the area ‘immediately surrounding and
associated with the home’ "—to be " ‘part of home itself for 4th Amendment
purposes.’ " Jardines, 569 US, at 6, 133 SCt 1409, Oliver v. United States, 466
U.S. 170, 180, "The protection afforded the curtilage is essentially a protection of

families and personal privacy in an area intimately linked to the home, both

physically and psychologically, where privacy expectations are most
heightened." California v. Ciraolo, 476 U.S. 207, 212-213, When a law
enforcement officer physically intrudes on the curtilage to gather evidence, a
search within the meaning of 4th Amendment has occurred. Jardines, 569 U.S., at

11, .. conduct is presumptively unreasonable absent a warrant.”

Per NILI et al v City of Warren et al Case No. 15-cv-13392 consent decree para
12 (D) city of Warren agree to obtain administrative warrant if denied entry,...”
See ECF 40 Ex 12

13.ECF 55 Complaint facts: (D) Robert Scott is supervisor of (D) City of
Warren Property & Maintenance Dept Warren MI- deceased-city is
representing (D) Scott and is still liable working for (D) city of Warren
in his individual capacity.

14. All of the private parties (Ds’) Hertz Brothers, (D) Sullivan acted
“under of color of state law”, acting “in concert”, “conspiracy” with state
actors per facts alleged “to be engaged in joint action, a private party
must be a “willful participant” with the state or its agents in an activity
which deprives others of constitutional rights. Dennis, 449 U.S.at 27. A
private party is liable under this theory, .. its particular actions are
“inextricably intertwined” with those of the government. Brunette, 294
F.3dat 1211. Substantial cooperation between the private party and the
state must be shown. Mathis. Pac. Gas & Elec.Co.,75 F.3d 498, 503
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(9thCir. 1996). An agreement between government and a private party
for some governmental-type action can create state action” Substantial
coordination and integration between the private party and the
government are the essence of a symbiotic relationship. Id. A significant
financial integration may form the nexus of a symbiotic relationship.
Rendell-Baker, 457 U.S. at 842-43. A symbiotic relationship may also
arise from of the government’s exercise of control over the private
party’s actions. “Brunette, 294 F.3d at 1213. (D) STI and Hertz Bros.,
Sandra Hertz, Randy Sullivan fit this definition for liability of private
parties acting in concert with (D) Scott.

15. (D) City of Warren MI is a local government entity which (D) Scott
and (D) police Does work for. It is being sued for “failure to train” it’s
employee’s.

When a law enforcement officer physically intrudes on the curtilage to gather
evidence, a search within the meaning of the Fourth Amendment has
occurred. Jardines, 569 U.S., at 11. Such conduct thus is presumptively
unreasonable absent a warrant.”
16. On 7/7/21 (D) Scott learned (P) Thrower arrived to mow grass at
7568 Hudson Ave Warren MI.
17. (D) SCOTT learning (PT) arrived called (Ds’) STI, Hertz Brothers,
Randy Sullivan to meet (D) SCOTT and tow vehicles from 7568 Hudson
Ave
18. (PT)}= plaintiff Thrower was in his apartment @ 7568 Hudson Ave —
(DUPLEX) and saw and heard (D) STI tow company, (D) Hertz
Brothers, and/or employees (D) Sullivan towing his 2011 Silverado &
Honda directed by (D) Scott.
19. (PT) saw (D) SCOTT throw (PT) mower in the back of the (PT)
Silverado upside down ruining same.
20.(PT) was in 7568 Hudson Ave and heard (D) SCOTT scream at (Ds)
STI Towing, Hertz Brothers and or employee (D) Sullivan “I want the
Honda towed”.
21. 2008 Honda Civic was parked on concrete drive behind 7568
Hudson Ave.
22. (PT) heard (D) Hertz Brother or employee (D) Sullivan say “I can’t
tow Honda without damaging it because it’s at an angle”. (D) SCOTT
responded, “I don’t care I want it towed anyhow”
((Ps’) have listed Joseph Bayura Jr as a witness to testify to paint damage
and bumper torn 2 places underneath 2008 Honda and needs replaced)
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23. (D) Scott later caused 37" District Court Judge Chumra to issue a
CYA court order after towing cares and issue misdemeanor warrant for
(PT) arrest dated 7/7/21. Judge Chumra order delineated to tow
“inoperable vehicles” Order Ex 1, ECF 40 Ex 1
24. 7/7/21 court order is void as a matter of law since:
a. Issued without notice or an “opportunity to be heard” or
ptobable cause (issued 7/7/21-same day cars towed)
b. Cars towed were “operable” so assuming arguendo court order
was valid, it was limited to “inoperable” vehicles and (Ps’) 2 vehicles
were “operable”

c. Order was not a “search warrant” to enter private property
d. Cars were licensed, insured, and no ticket for “blight” or other
infraction issued

e. 2008 Honda was driven by renter (PN)=plaintiff Nelson who
had taken an ambulance to Ascension Hospital days before and was in
the hospital when her Honda was towed
f. Order as a matter of law did not allow (D) SCOTT to enter
private property without a search warrant as a matter of law per
Collins v Virginia, supra.
25. (PT) saw (D) SCOTT take (PT) “personal property” grill, gutter
attached to house, wood from 7568 Hudson Ave address
26. (D) SCOTT billed (PT) $687.50 for illegally taking property 7/7/21
in his alleged capacity as supervisor of property and maintenance
27. On 7/8/21 (PT) went to (D) STI 6006 Rinke Ave Warren MI to
retrieve Silverado at about 8.30 AM.
28. (D) Hertz Brother &/or employee (D) Sullivan stalled (PT) per
earlier agreement with (D) Scott-for approximately 30 minutes
pretending like (D) could not find (PT) Silverado.
29. (PT) was told to wait in STI garage and (D) Scott arrived and
attacked (PT) running up on him in (D) STI garage and physically
restraining (PT) while (Ds’) Hertz Bros &/or Sullivan watched
30.. (PT) yelled “what are you doing”? (D) SCOTT said “I am doing a
citizens arrest, there is warrant out for you for housing violations.”
31. (PT) told (D) Scott that under MI law he could not perform a
citizens arrest for alleged misdemeanor housing violations.
32. (PT) called 911 to report kidnapping in process and assault and
battery, with (D) SCOTT knocking phone out of (PT) Thrower’s hand
injuring same after 911 operator answered
33. (D) Scott searched (PT) Aldi’s bag

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34. On 7/21/21 (PT) filed a police report for (D) Scott “assault and
battery”, “kidnapping” Incident #21-33784
35.(PN) after exiting Ascension Hospital had to retrieve her “operable”
Honda from (D) STI towing paying $330 tow fee. Rear bumper damaged.
Paint $880
36. (PT) paid $330 to retrieve Silverado from (D) STI at a later date
CLAIM NUMBER ONE
Per facts same rewritten herein (D) Scott in tandem, conspiracy, agreement
with (Ds’) STI, Hertz Brothers, employee (D) Randy Sullivan violated the
(Ps’) 4, 5, 14% Amendment rights United States Constitution when they entered
on to the 7568 Hudson Ave property, curtilage, 7/7/21 without search warrant
and towed 2 operable vehicles belonging to (PT) and (PN) tenants. (D) SCOTT
confiscated personal property of (PT) Thrower in the process
CLAIM NUMBER TWO
Per facts same rewritten herein the (D) SCOTT violated the (PT) United States
Constitutional rights to be free from unconstitutional seizure in violation of the
4, 5, 14% Amendment when (D) Scott preformed a “citizen’s arrest” when as a
matter of law (D) Scott was not legally allowed to. (D) Scott acted in
agreement, tandem, conspiracy, actions “inextricably intertwined”, with (D)
Hertz Brothers, (D) Sandra Hertz, (D) Randy Sullivan to detain, stall (PT) at
(D) STI, call (D) Scott who rushed over and do “citizen’s arrest”, “assault and
battery”, kidnapped, search (PT) at (D) STI garage while (D) Hertz Brother(s)
&/or (D) Sullivan watched per agreement”

The (Ds’) city Warren, Scott, aver that a warrant was issued for housing
violations to (P) Thrower.

1) The 7568 Hudson Ave Warren MI is owned by St Anthony the Great
Romanian Orthodox Monastery, a MI registered corporation, not (P)
Thrower. ECF 40 Ex

2) Assuming arguendo 7/7/21 warrant was legitimately obtained it is a
misdemeanor warrant and cannot be used to tow cars and seize personal
property at a residence or even enter a residence to perfect an arrest. New
York v Payton, 445U.S. 573, 100 S. Ct. 1371; for the law that a search
warrant must be issued to enter property for a felony arrest.

3) (D) city, Scott cite a 6" Cir case US v Coleman, 923 F3d 450 (6" Cir), for

the proposition that this Court is wrong stating that (Ps’) state a 4, 14%

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Amendment claim for illegal entry onto the Ps’ leased residential property

without a search warrant towing 2 cars and taking personal property.

Per Ex’s 36, pg 1-10 show that 7568 Hudson Ave was completely fenced in.
7568 Hudson Ave Warren= duplex, not a condominium complex delineated in
Coleman, Id. The only other tenant was city’s witness Branson who had her
eviction “stayed” because of covid. (Ds’) do not get an affidavit from renter
Branson to aver that she allowed (Ds’) in. Per facts, the 2008 Honda was
parked behind building on concrete at an angle. The government in Coleman
had a court order to place a tracking device on Coleman in Coleman, Id. 450-1.
Coleman is inapplicable because Coleman was the subject of a narcotics
investigation. In Coleman, 451, “Coleman moved to suppress the fruits of the
... vehicle tracking and residential search warrants,..” In case sub judice, there
was no search warrant. Id 451, “Coleman’s driveway was not within the
curtilage of his home..”, contrary to Ex 1 pg 1-9 shows 7568 Hudson right next
to home. Per Ex 38-39 Affidavits’ (P) Thrower, (P) Nelson aver anyone seen
past driveway entrance would be deemed “trespassing” as it enters yard
enclosed by fence on 4 sides and driveway. Per Ex 37 Affidavit & Ex 38 pic.,
there was a “no trespassing sign” on fence like the one in Ex 32 pic-although
faded. In Coleman, there was no “no trespassing” sign just a “private property”
sign on entrance to condo complex. Further ECF 40 Ex 28, 32 pg 2 show Ps’
gate @ 7568 Hudson Ave closed after vehicles entered or left.

Assuming arguendo what Ds’ say is true re Coleman, case is not on point
because facts Ds’ seized Ps’ 2 vehicles and personal property and in residential
“curtilage” area which constitutes 4, 5, 14" Amendment violation alleged
without a search warrant. The seizing of the 2 cars is the 4, 5, 14", anda

separate cause 4, 5, 14 Amendments for entering property without search

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warrant US Constitutional violation without Due Process of law. Ps’ do not
read Coleman to allow same and Ds’ do not cite Coleman that allows the
conduct alleged in the facts of complaint. STI (Service Towing Inc-Able
Towing LLC) Hertz Bros., Sandra Hertz & Randy Sullivan acted in “concert”,
“tandem”, “Conspiracy” to tow the Ps’ vehicles. “Nugent v Spectrum Juv
Servs, 72 F4th 135, 139-140 6CA ‘..test ..employed to determine when a
private entity may qualify as a state actor, including entwined test..private entity
is entwined in private entity’s management or control’ Brentwood Acad v Tenn
Secondary Scholl Athletic Ass ’n, 121 SCt 924. In this case ... facts in complaint
that appellant STI, Hertz Bros were called to tow cars off private property by
‘state actors’. See ECF105 Ex 5,6,7,9 ADMISSION. ...STI, HERTZ BROS
tow company claim they have a contract with (D) city of Warren that mandates
they comply with city of Warren employees requests.... Shows ‘as to the
elements of these three theories... nexus test, state compulsion test, and
conspiracy framework are all sufficient bases on which to find private company
defendants liable under Sec 1983’ Memphis Tenn Local .. v City of Memphis,
361 F3d 898, 905

Per exhibits infra are referenced ECF 40 & annexed hereto. (Ds’) STI,
Hertz Bros appear confused and argue that since police are not involved in the
illegal tow scheme, then they are not liable. (D) Scott, et al., are “state actors” for
42 USC Sec 1983 purposes. (D) Warren city workers (D) Scott is a “state actor” ,
like tow companies, city in Robertson v Breakthrough et al, argues state law has
exclusive “subject matter jurisdiction”, “Mich Comp L Sec 257.252e(1), ..relies on

Gilbert-Rutter v Parkview Towers..WL 2016 3913713 at 2 (ED MI).. however

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Gilbert-Rutter.. concerned a single plaintiff challenging the one-time tow of a
vehicle with expired plates”. See Ex 23 Gilbert-Rutter v Parkview Towers et al.,
Case 16-11-10, dismissing pro’se complaint @ p 3 para 1 “In Plaintiff's amended
complaint, all allegations .. legality of towing of her car from private property of
(D) Parkview Towers. Plaintiff admits she was given 48 hours notice by Parkview
towers prior to towing of her car. She admits that her car had expired plates, and
that the car was considered abandoned. Plaintiff admits.. lease that she received
from Parkview states that a vehicle can be towed for expired plates. Plaintiff also
admits in her complaint that she could have retrieved her vehicle from the police
but did not pay required fee. Per MCL §257.252a(2){a), an abandoned vehicle is
defined as, inter alia, “[a] vehicle that has remained on private property without
consent of owner.” (P) lease, Parkview could remove cars parked on their property
that had expired registration plates. Parkview had a contract with Goch & Sons
Towing..”. Hence owner of property, Parkview Towers called tow company ..
expired plates, after giving 48 hours notice pursuant to renter Gilbert-Rutter’s per
written lease, within the direct language Mich Comp L Sec 257.2523(1) Ex 16 MI
Abandoned Vehicle Code.” .. magistrate opinion was not appealed by plaintiff in
Gilbert-Rutter v Parkview Towers et al.. Case sub judice, is differentiated because
2 cars were towed, b) 2 cars were “operable”, c) state actors or STI tow company

under Mi Abandoned vehicle code was not allowed on private property to tow cars
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d) cars had current plates, insured to same address as (PN) owner’s driver’s license
e) Came on private property without warrant behind a privacy fence g) “other
acts” 22-cv-10918 Nelson et al., v Service Towing Inc. et al., where same (Ds’)
towed 4 other cars, (D) SCOTT & other city employees entering (Ps’) residence
without search or administrative warrant as found by this Court but dismissed on
“statute of limitations” grounds ECF —_-even though “dismissed” on statute of

limitations grounds can still be considered as “other acts” for (D) city liability. «

Under the continuing violation doctrine, certain plaintiffs can overcome a statute of limitations
defense by arguing that the allegedly unconstitutional acts were parts of a continuing violation

amounting to a single wrong occurring within the limitations period.” See United Air Lines, Inc.

v_ Evans, 431 U.S. 553 (1977), Nat’ R.R. Passenger Corp. v. Morgan, 536 U.S. 101 (2002),

and Ledbetter v: Goodyear Tire & Rubber Co., Inc., 127 S. Ct. 2162 (2007) (Ds’) Hertz Bros.,

Sandra Hertz & employee Sullivan worked with (D) Scott to “set up” (PT) ..
citizens arrests (P) Thrower Ex 24 Warren 7/16/21 police report. “scheme...
violated federal statutes and constitutional rights —all ‘arise under the Constitution,
laws, treaties of United States.’ 28 USCA Sec 1331. Court has jurisdiction.
Carmen Auto Sales III Inc. v City of Detroit, 2018 WL 1326295, @ 3-4”,
“explaining: ‘Congress—not state a state legislature—controls federal court
jurisdiction..nothing in Sec 257.252e(1).. limits a federal court’s jurisdiction to
hear federal ¢laims...’” Robertson et al v Breakthrough et al., pg. 11. Indeed, per

facts complaint, Michigan Vehicle Code Sec 257.252e(1), does not even apply to

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the facts accepted as true, since only property owner or police can authorize tows
off private property, which “state actor”, working under Supervisor of Property &
Maintenance. Hence, “Breakthrough’s authority to tow vehicles derives from
Michigan Vehicle Code, which allows for towing of an ‘abandoned vehicle’—that
is ‘a vehicle that has remained on private property without consent of the owner’
Mich Code L, Sec 257.252a(2)(a). A towing agency may take custody of an
abandoned vehicle through one of two ways: (i) .. direction of a police agency, see
Sec 257.252(a)(4), or (ii) at the request of the owner of the private property where
the abandoned vehicle is located, see Sec 257.252a(10).” Hence tow company
(Ds’)=appellees STI, Hertz Bros cannot rely on a state code to violate (Ps) US

Constitutional rights that does not even apply per the facts accepted as true.

Police have not been identified or served. “For (Ps’) to state a claim for civil
conspiracy, ‘all that must be shown is that there is a single plan,.. alleged
coconspirator shared in the general conspiratorial objective, and that an overt act
was committed in furtherance of the conspiracy that caused injury to the
complainant”, Memphis, 361 F3d 905. The “conspiracy” was to tow 2 licensed, ,
insured cars from ( P-Nelson) home and (P- Thrower) & take personal property. It
is well settled law that private parties can “conspired with state actors. (Ds’) STI,
AT LLC employees Hertz Bros., Sandra Hertz, Edward Hertz, Randy Sullivan

acted “in concert”, “conspiracy” with state (Ds’), engage in conduct under “color

WG

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of State law,” .. subject to liability under section 1983 where they “act jointly” or
conspire with state government officials. See, e.g., Brentwood Acad. v. Tenn.
Secondary Sch. Ath. Ass'n, 531 U.S. 288, 296 (2001); Tower v. Glover, 467 U.S.
914, 919 (1984); Dennis v. Sparks, 449 U.S. 24, 27 (1980); cf. United States v.
Price, 383 U.S. 787, 794 (1966) (holding that, for purposes of finding liability..
criminal law analogue of section 1983, 18 U.S.C. § 242, private individuals acting
jointly with state officers engage in conduct “under color” of state law). All private
appellees ABLE TOWING LLC, SERVICE TOWING INC., owners DENNIS
HERTZ. BRUCE HERTZ, SANDRA HERTZ and their employee=Randy Sullivan
via agency law “act jointly” and / or “conspire with state government officials” i.e.
appellee (D) City of Warren Property & Maintenance Supervisor Scott et al.,
Brentwood Acad. V Tenn. Secondary Sch. Ath. Ass’n, supra with City of Warren MI
Property & Maintenance division, (d) Robert Scott, Does, (Ds’) all acting in their
‘individual capacities” at all times per facts of this complaint and conspired with
private towing company STI, AT LLC and Hertz Bros., Sullivan, employees.
Appellees’ (Ds’) STI, AKA AT LLC, Hertz Bros, & Sandra Hertz, claim they were
“just fulfilling a contract”, with (D) city of Warren, yet the existence of a
“contract”, “with state and private actors, so that the action may be attributed to
the state’, ‘to take a particular action so .. really that of the state’” Robertson et al v

Breakthrough et al @ 12. See Memphis Tenn Area Loc Am Postal Workers Union

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AFL-CIO v Memphis, 361 F3d 898, 905, “nexus test, state compulsion test, and

conspiracy framework are all sufficient bases on which to find the private company
liable under Sec 1983..elements of these three theories: * ‘The state compulsion
test requires proof that the state significantly encouraged or .. coerced either
overtly or covertly, to take a particular action so that the choice is really that of the
state.” Moldowan, 578 F3d at 399. The “particular action” i.e. illegally tow cars,
appellees (Ds’) STI, Hertz Bros., Edward & Sandra Hertz, employee Sullivan is
mandated by their “contract”, “so that choice is really that of.. state’ Moldowan,
Id.” “.. nexus test requires a sufficient close relationship (i.e. through state
regulation or contract) between ..state and..private actor so... action may be
attributed to the state.’” Robertson et al v Breakthough Towing et all, at 12, i.e.,
“contract” appellees (Ds’) STI, Hertz Bros claim for immunity, in the law shows
liability, “contract) between the state and private actor .. action may be attributed to
the state.”” Robertson et al v Breakthrough Towing et al., Id. * 1983 civil
conspiracy o¢curs where ‘private party has conspired with state officials to violate
constitutional rights, and (3) an overt act was committed.’ Revis v Meldrum, 489
F3d 273, 290 CA6”, Robertson et al v Breakthrough Towing et al., supra @ p12
The fact that 2 cars were illegally towed is “1983 civil conspiracy occurs... violate
constitutional rights..and (3) an overt act was committed.”” Overt Act: = (D)

“state actor” Warren Property Maintenance Supervisor Scott (Ds) STI, Hertz Bros

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state they have a “contract”, hence their “contract” with (D) city of Warren requires
(Ds’)-STI, Hertz Bros, Sandra Hertz to violate (Ps’) US Constitutional rights, enter
private property-tow cars in violation of 4,5,14" Amendments US Constitution, “so
that.. choice is really that of ..state’” Moldowan, Id. and “contract” claimed by
(Ds’) STI, Hertz Bros. to make them not liable is in fact “nexus test requires a
sufficient close relationship (i.e. through state regulation or contract) between the
state and the private actor so that the action may be attributed to the state.’ ”
Robertson et al., v Breakthrough Towing et al., supra. (D) scott as observed by (p)
thrower directed towing (ps’) 2 cars, took personal property “without notice and an

opportunity to be heard at a meaningful time” Fuentes v Shevin, 92 SCt 1983

Due Process: The due process cl 14th Amendment ensures no party will be
deprived of property without notice and an opportunity to be heard at a meaningful
time and in a meaningful manner. Fuentes v. Shevin, 92 S. Ct. 1983, .. Fourteenth
Amendment protection of property has been broadly extended to "any significant

property interest." Boddie v. Connecticut, 401 U.S. 371, 379, It is undisputed ..

Uninterrupted use of one's vehicle is a substantial property interest, and that before
"local government may so interrupt its use, ..owner is entitled to due process." Bell
v. Burson, 4Q2 U.S. 535, 539. Per ECF 40 Ex 1, also annexed hereto is Judge 37

District Court issuing order 7/7/21, same day cars were towed. Cars were towed

9:00 AM. 1) order was not and could not be served on (Ps’) same day, (PN) was in

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Ascension Hospital. 2) Order states “inoperable vehicles”. (Ps’) 2 cars were
“operable” per facts and driven away from (D) STI towing facility ECF 40 Ex 21
& annexed hereto as Ex 21 @ Speedway “gas station after removal from (D) STI
tow yard-shows ‘operable’”. (Ps’) were “deprived of property without notice and
an opportunity to be heard at a meaningful time and in a meaningful manner ”.
Fuentes v Shevin, Id. “state actors”. Several of the “overt acts” are: 1) coming on
the private property to tow 2 cars and take the personal property, 2) Telephone call
from City of Warren Property & Maintenance Doe, Scott to STI, Hertz Bros
Towing. MI Code L Sec 257.252a(2)(a) statute Warren Property and Maintenance
Supervisor, (D) SCOTT, Doe- has “no authority” to tow vehicles off “private
property” in violation of well settled “black letter” law 2018 Collins v Virginia, as
“property and maintenance” employees for (D) City of Warren... police officers.
“Sec 257.252a(2\(a). A towing agency may take custody of an abandoned vehicle
through one of two ways: (i) at the direction of a police agency, see Sec
257.252(a(4),..”. (Ds’) STI, Hertz Bros entered into a conspiracy, meeting of the
minds, with “state actors” (D) Scott, Doe evidenced by (D) STI admitted “mystery
contract” to violate (Ps’) US Constitutional rights acting in their “individual
capacities”. “.. that the nexus test requires a sufficient close relationship (i.e.
through state regulation or contract) between the state and the private actor so that

the action may be attributed to the state.’” Robertson et al v Breakthough Towing et

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al., at 12”, P-Thrower saw (D) Scott ordering towing of 2 cars and loading (PT)

mower into (PT) truck upside down ruining.

(Ds’) STI, Hertz Brothers cite a “contract” with city of Warren tow cars when
called by Warren City employees. (Ds’) STI, Hertz Brother’s have not produced
this contract, and (Ps’) aver that it should not be allowed as a defense, said
“mystery contract”. Further, said contract would be illegal if interpreted to enter
private property at the request of (D) city of Warren Property & Maintenance
employees, supervisor appellee (D) Scott to tow licensed, plated, insured vehicles
registered to same address. “Private parties may also be liable under Sec 1983 if
they ‘willfully participated in joint actions with state agents’ by joining a civil
conspiracy with state officials Memphis Tenn Area Loc., Am Postal Workers
Union, AFL CIO v City of Memphis, 361 F3d 898, 905 CA 6. “knowingly allowed
the seizure ...in reckless disregard of statute requirements’ ...violated (Ps) clearly
established Fourth Amendment rights to be free from unreasonable seizures’
Livingston, 151 F.App’x at 476..for plaintiffs to state a claim for civil conspiracy
‘all that must be shown is that there was a single plan”, appellees STI, Hertz Bros,
Sandra Hertz, Edward Hertz-private parties aver “mystery contract” allows them
to break the law, violate United States Constitutional rights, yet fails to produce
same ,“ .. nexus test requires a sufficient close relationship (i.e. through state

regulation or contract) between...state and.. private actor so ..action may be

a
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attributed to the state.” Robertson et al v Breakthough Towing et al., at 12”, & at
Robertson et al., v Breakthrough Towing LLC et al., @ p 6 para 2, Mich Comp. L.
Sec 257.252a(11).” Owner of property owner, a circumstance not authorized by
Mich. Code L Sec. 257.252a”, “Before removing the vehicle from private
property, the towing agency shall provide notice by telephone, or otherwise, to a
police agency having jurisdiction over the “mystery contract” not produced in
discovery cannot be relied upon to break the law, violate the constitution and
contract shows “may be subject to liability under section 1983 where they “act
jointly” or conspire with state government officials. See, e.g., Brentwood Acad. v.
Tenn. Secondary Sch. Ath. Ass’n, 531 U.S. 288, 296 (2001); Tower v. Glover, 467
U.S. 914, 919 (1984); Dennis v. Sparks, 449 U.S. 24, 27 (1980); cf. United States v.
Price, 383 U.S. 787, 794 (1966) (.. finding liability under the criminal law
analogue of section 1983, 18 U.S.C. § 242, private individuals acting jointly with
state officers engage in conduct “under color” of state law). All private (Ds’)
ABLE TOWING LLC, SERVICE TOWING INC.,=STI, owners Dennis Hertz,
Bruce hertz, Sandra hertz & employees=Randy Sullivan via agency law “act
jointly” and / or “conspire with state government officials” i.e. (D) City of Warren
Property & Maintenance Supervisor Scott et al., Brentwood Acad. V Tenn.
Secondary Sch. Ath. Ass'n, supra with City of Warren MI Property & Maintenance

division, (d) Robert Scott, Does, (Ds’) all acting in their ‘individual capacities” at

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all times per facts of this complaint and conspired with private towing company
STI, AT LLC and Hertz Bros., Sullivan, employees. See “other acts” of city of
Warren, Ex 29 6/24/23 “Warren police officer caught on video punching jail inmate
pg 1-5. Ex 24 Warren Police Report dated 7/16/21, “other act” (Ds’) STI, Hertz
Bros., working w “state actor (D) Scott in re “citizen’s arrest” @ (Ds’) STI tow
yard, Hertz Brother, Sullivan defendants. “One theory that civil rights attorneys
have used to establish § 1983 liability is a ratification theory. Under a ratification
theory, the plaintiff argues, that because the municipality subsequently approved of
conduct by its officials that deprived the plaintiff of his constitutional rights, the
municipality should be liable under §1983. In City of St. Louis v. Praprotnik,4 a
plurality in the United States Supreme Court accepted this theory: when a final
policy maker “approve[d] a subordinate's decision and the basis for it, their See
City of St. Louis v. Praprotnik, 485 U.S. 112, 127 (1988) (Ps’) aver that (D) STI
admission of “tow contract” with (D) city of Warren, “approved of the conduct by
its officials that deprived the plaintiff(s) of (their) constitutional rights,...the
municipality should be liable under Sec 1983” Id” . Per lawsuit “accepted as true”, (Ps’)

are proceeding against the (D) city of Warren under Monell v. Department of Social Services of
the City of New York, infra which created.. for civil rights P to seek money damages against a
city. Pembaur v City of Cincinnati, infra “Monell.. recovery.. municipality is limited to acts..
‘municipality’-that is, acts which the municipality has officially sanctioned or ordered.’....”. “1

Ps’ allege (D Warren) has an unconstitutional policy. These policies may written or unwritten, so

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long as .. attributed to a “policymaker.” Warren has an unconstitutional policy” &/or towing cars
for “blight” entering private property without search warrant “policymakers.. elected officials or
those defined as policymakers by state law. This.. also provides a standard of causation: if a
subordinate employee is the party responsible.. deprivation of rights, the local entity may only be
responsible if a certain policy was a “moving force” behind their action. This but-for standard ..
2nd a local entity may be liable .. § 1983 for unconstitutional customs and practices. ..
advantageous to'a civil rights plaintiff when no policymaker can be identified. ... 3) ifa
policymaker deltgates his or her authority to a subordinate employee or explicitly approves of
unconstitutional actions,.. act can be said to be “of the municipality” by adoption. 4) civil rights
plaintiff may allege deliberate indifference. .. applies to single-incident-type injustices and
concerns the city or county’s failure to hire, train, or supervise its employees. Deliberate
indifference liability attaches when policymakers of ..local entity are aware .. risk and grossly
neglect to address it. Blatant unconstitutional policies are (not) authorized by city councils..
admissible evidence proving policymaker authorization or adoption of a subordinate employee’s
unconstitutional action is often non-existent” . Ps’ alleges was a final policymaker] acted under
color of state law; 2. acts of (Ds’) final policymaker deprived Ps’ of rights under United States
Constitution. (1D) , final policymaker had final authority from (D) City Warren concerning these
acts. When Ds’ final policymaker_engaged in these acts, was acting as a final policymaker for
(D) City Warren and acts, final policymaker caused the deprivation of the plaintiff's rights; that
is, final policymaker’s acts were so closely related.. deprivation of Ps’ rights as to.. moving force
that caused ..ultimate injury. Person acts “under color of state law” when person acts or purports
to act in performance of official duties under any state, county, or municipal law, ordinance or

regulation. Monell liability is based on the acts of a final policymaker. For other bases
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of Monell liability, Unlawful Official Policy, Practice, or Custom... Based on a Policy that Fails
to Prevent Violations of Law or a Policy of Failure to Train Monell v. Dep t of Soc. Servs. of
N.Y, 436 U.S. 658, 691. Such liability attach when official or employee who caused a
constitutional violation was acting as “final policymaker.” Lytle v Carl, 382 F3d 978, 981. “To
hold a local governing body liable for an official’s conduct, a plaintiff must first show .. official
(1) had final policymaking authority concerning.. action ..and (2) was the policymaker for the
local governing body for purposes of particular act.” Whether an official is a policymaker

for Monell purposes is a question of state law for the court” City of St Louis v Praprotnik, 485
US 112, 123 .. determination is made on a function-by-function approach analyzed under state
organizational structure. A “policy” is a deliberate choice to follow a course of action made
from among various alternatives by ..official responsible for establishing final policy” Ps’
seeking to establish municipal liability under this theory.. demonstrate that an action of final
policymaker “was the ‘moving force’ behind the constitutional violation Ps’ suffered.” “To meet
this requirement, P.. show both causation-in-fact & proximate causation.” Jd. A municipality
may be liable for the acts of a final policymaker if these acts caused a constitutional violation,
even if the constitutional violation occurs only once. Pembaur v City of Cincinnati, 475 US 469,

478 municipality is also liable if a policymaking official fully...”

1) Per Ex 38-39 Affidavits of (Ps’) “At 7568 Hudson Ave Warren MI 48090
since approximately 2019 there was a gate across the driveway where each
half swung open.

2) The tenant BRANSON did not have a car so there was no need for
BRANSON to open or close the gate because there was a 2" gate to walk
through.

3) Branson was instructed to keep the gate(s) closed.
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4) The gates are shown in exhibit 32 pg. 2, annexed hereto, same as ECF 40 Ex
32 pg. 2, Ex 36 pictures. The Ex 36 pictures were taken 7/11/24 after
property was sold and the new owner removed the gate.

5) There was a “privacy fence” built with (D) city of Warren permit where
zoning employee Bagdamente instructed affiant that privacy fence had to be
online with the main structure of house.

6) Per Ex 36 photos the yard was completely fenced in.

7) There was a “no trespassing sign” posted on the privacy fence that became
faded after time similar to Ex 38 picture.

8) 2008 Honda bumper is torn underneath and needs to be replaced per
witnessed proffered for trial and it is the opinion of witness that towing of
2008 Honda from the rear torn the bumper underneath in 2 places per
conversation with witness.

9) Per (D) STI, Hertz Bros (Ds’) the tickets annexed to ECF _, unlabeled and
annexed hereto as Ex 37 pg. 1-5 were all issued the same day 7/7/21 the day
the 2 cars were towed or Ex 37 pg. 3=7/8/21 the day after so as to not be
relevant except to show that (Ds’) returned to property to write the same
tickets again. Per para 10, infra, (PN) Honda was parked on the cement
behind the house & was “operable”.

10) (PN) was in Ascencion hospital having travelled there by ambulance

the day before 7/6/21

The normal procedure per Warren code is write a ticket if car is parked on the grass and allow
violator to appear in an administrative hearing NOT tow the car on grass the same day “without
notice and an opportunity to be heard”, Mullane v. Central Hanover Bank & Trust Co., 339 U.S.

306 (1950) “Notice must be reasonably calculated under the circumstances to inform
interested parties of a pending action and give them an opportunity to respond.”

11) Per covid Michigan & Warren had “stayed” all evictions, including
3/10/20 eviction of tenant BRANSON, per “occupying an uncertified
structure ticket”. 7568 Hudson Ave was owned by St Anthony the Great
Romanian Orthodox Monastery ECF 40, Ex 33-34, deed for both parcels,
not (Ps’)”, who leased apartments at 7568 Hudson Ave address ECF 40 Ex
2-3

(PT) STATES A CLAIM THAT (D) SCOTT VIOLATED (PT) 4", 5, 14 US
CONSTITUTIONAL RIGHTS WHEN HE DID A CITIZENS ARREST ON
(PT) AND WORKED WITH PRIVATE (Ds’) STI, HERTZ BROS.,
SANDRA HERTZ, RANDY SULLIVAN TO “STALL” (PT) AND NOTIFY

20
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(D) SCOTT WHEN (PT) CAME TO RETRIEVE CARS PER EALIER
AGREEMENT

Judge in action dismissed the state law claims. This leaves 4, 5, 14"
Amendment US Constitution claims per the fact which must be accepted as
true. See ECF 55

27. “On 7/8/21 (PT) went to (D) STI 6006 Rinke Ave Warren MI to retrieve
Silverado at about 8.30 AM.

28.(D) Hertz Brother &/or employee (D) Sullivan stalled (PT) per earlier
agreement with (D) Scott-for approximately 30 minutes pretending like
(D) could not find (PT) Silverado.”

OBJECTION No. 1 MAGISTRATE ERRED BY STATING PLAINTIFF
THROWER= (PT) DID NOT STATE A 4™ AMENDMENT CLAIM AGAINST
ROBERT SCOTT-Warren Property & Maintenance supervisor when he did a
citizens arrest at service towing inc=STI tow yard 7/8/21 working in agreement
with (D) STI Towing, Hertz Bros., Sandra Hertz, Sullivan employee. Per
complaint ECF 29 pg 12, P “67. On 7/8/21 (P) Thrower went to tow yard to
retrieve Silverado @ 9:15 AM.

68. (D) Hertz brother or (D) Sullivan stalled (P) Thrower and (D) Hertz brother(s)
& or Sullivan, Sandra Hertz, called (D) Scott, Property and Maintenance
Supervisor per earlier agreement who rushed over to (STI).

69. 9.40 AM (D) Scott #32 (deceased-estate substituted) arrived at (D)
STI...6006 Rinke Ave Warren MI and threw (PT) against .. (restrained Thrower
physically in center right of (D) STI garage where (D) Doe Hertz Brother or
(D) Sullivan told (P) Thrower to wait) physically restraining (P) Thrower inside
STI garage (D) Scott yelling @ (P) Thrower ‘there was a warrant out for
housing violations (allegedly) issued 7/7/21°”. See ECF 40, INDEX OF
EXHIBITS 26 pg 1-2 AFFIDAVIT OF ALBERT THROWER, Ex 25 pg 1-3
new Affidavits of (Ps’) (two affidavits), Ex 38-39 annexed hereto.

2

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70. “(P) Thrower yelled at (D) Scott ‘what are you doing’? (D) Scott replied ‘doing
a citizens arrest’. (P) told (D) SCOTT that under Michigan law (p 13) he could
(NOT) sic perform a citizen’s arrest. (P) Thrower proceeded to call 911 to report
crime of Kidnapping in process under MI law. (D) Scott knocked (P) Thrower 313
line out of his hand and knocked (P) Thrower glasses off, breaking them
committing felony ‘assault and battery’. (P) Thrower told (D) Scott #32 “you are
assaulting me and doing battery on me’, (D) Scott (deceased-estate substituted-if
needed per AMENDED filing) roughing (P) Thrower up and holding his hands
behind his back.” (D) Scott is an x-Warren police officer of 28 years, (obit) and
apparently still thinks he was a police officer.

71. “While restraining (P) Thrower (D) Scott #32 searched (P) Thrower Aldi’s bag
with personal property ....performing illegal search and seizure under United
States Constitution 4, 5, 14° Amendment including illegal seizure by physically
restraining (P) Thrower.”

72. “Under Michigan law (D) Scott did not have authority to do a citizen’s arrest
for misdemeanor warrant. (P) Thrower told (D) Scott he did not have legal
authority to restrain (P) Thrower, to which (D) Scott #32 responded, ‘I am doing a
citizen’s arrest’. Which (P) Thrower informed (D) Scott ‘he did not have authority

999

to perform a'citizen’s arrest under MI law per facts.

73. “(P) Thrower phone was knocked out of his hand, and he was forcibly
detained and injured ... by (D) Scott.”

74. “Covid was still an issue during this alleged citizen’s arrest 7/8/21 and (D)
Scott was yelling @ (P) Thrower and spit was going on (P) Thrower from (D)

Scott.”

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75. After about 10-15 minutes of (P) Thrower being physically restrained by (D)
Scott Warren police arrived (witnessing (D) Scott physically restraining (P)
Thrower).

76. Warren police witnessed the felony in process of kidnapping (P) .. Thrower and
did not arrest (D) Scott but rather arrested (P) Thrower for alleged misdemeanor

housing violations.”

Magistrate erred because it appears that since Warren police ultimately arrested
(P) Thrower that (D) Scott did not perform a “citizen’s arrest” as he claimed he did
to (P) Thrower.

(D) Scott having ample to time to respond under oath does not deny this assault
and citizen’s arrest took place, nor have Warren police officer’s arrived who

witnessed sate, or (D) Hertz Bros (Ds’) or employee Sullivan.

77) “Under Michigan Code of Criminal Procedures Act 175 of 1927, 764.16 Arrest
by Private Persons... Section 16, For a felony committed in the private person’s

presence

e ... committed felony not in private person’s presence, If the private person is
summoned by a peace officer to assist the officer....(d)” ECH 46 pg 3, P 2,
magistrate correctly states fact: “July 8, 2021, Thrower went to the tow yard to
retrieve the vehicles... (D) Hertz (or (D)=Doe employee Sullivan-who was
mistaken as one of the (Ds’) Hertz Brothers stalled Thrower while (D) Scott
was on his way to the tow yard (after being called by (D) Hertz Bros per
agreement). When (D) Scott arrived, he threw (P) Thrower against the wall and
conducted a citizen’s arrest for unsafe structure-for-habitation ticket(issued the
day before 7/7/21 & not served on (P) ) (Id. At PageID,94-95) (as noted in (Ps’)

wo
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brief tenant Branson had her eviction stayed because of covid, and then
evictions were tolled because of covid-later (D) Scott testified at 8/21 eviction
hearing that Branson should be allowed to stay at Hudson property for free
while (D) Scott helped her find a place & “it was a nice apartment” Tsp of
hearing-to 37" District Court’s Judge Chuma’s dismay). While restraining ((P)
Thrower), (D) Scott searched through Thrower’s bag (and assault and battery
(P) Thrower per ECF 29 pg 12-13 complaint “which must be accepted as true”
quoted supra. Thrower alleges that Scott lacked authority to conduct a citizen’s
arrest for a misdemeanor charge. Warren police then arrived but did not arrest
Scott for kidnapping; instead, they arrested (P) Thrower on the misdemeanor
housing violation.” Magistrate was correct by holding (Ps’) complaint to a
lesser pro’se standard per Haines v Kerner, 404 US 519, 520. @ pg 5 P 2.

Magistrate erred in applying law in re citizen’s arrest. Pg 22 ECF 46 PageID
547, as to probable cause for (D) Scott to do a citizen’s arrest-restrain (P)
Thrower, “assault & battery on (P) Thrower per ECF 25 Amended complaint
quoted supra. (D) Scott is not a police officer, magistrate using “The officer
subjective reason for making the arrest ...” Devenpeck v Alford, 543 US 146,
153. As stated in ECF Amended complaint 29 (D) Scott is a supervisor Warren
Property and Maintenance. (Ps’) can find no law, that an employee of Warren
property and maintenance can do a “citizen’s arrest” as (D) Scott claimed he
did, Scott was attacking, restraining, knocking (PT) glasses off, knocking his
phone out of his hand, spit on during covid, and searching ALDI bag until
Warren police arrived “10-15 minutes later”, he being a public official, city of
Warren employee under Michigan law was not allowed to do same. Using a
police case as to whether a police had probable cause to arrest ... Devenpeck
Id., is not on point. “Held: /. A warrantless arrest by a law officer is

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reasonable under the Fourth Amendment if, given the facts known to the officer,
there is probable cause to believe that a crime has been or is being
committed...officers to cease providing reasons for arrest, or to cite every class
of offense for which probable cause could conceivably exist. Pp. 5—9.”, “Officer
.. State Patrol, ..supervisor, Sergeant Devenpeck,” Devenpeck v Alford, Id.
Complaint ECF 29, (D) Scott=(D) city of Warren Property & Maintenance”, not
“a police officer”, so Devenpeck v Alford, Id., is not relevant. (D) city of
Warren failed to train (D) Scott and “train” him that he is “(not) a law officer”
as he was for 28 yrs (Scott obit). The city of Warren is liable for it’s failure to
train policy” and ample case and newspaper articles set forth in Ps’ ECF 40
RESPONSE TO DEFENDANTS MOTION TO DISMISS .. same as if
rewritten herein including exhibits 1-35. Magistrate states @ pg 22 para 2 “As
Scott noted, PT did not allege that .. citizens arrest ... was affected without
probable cause...” . Scott, per ECF 29 pg 6 P”15) (D) Scott=supervisor of city
of warren property maintenance div..”. For a city employee law states he

cannot make a “citizens arrest”. There is no weighing if he had “probable

cause” as he is not a police officer. 2°, Warren Police officers that arrived 10-
15 minutes later and observed (D) Scott “physically restraining” (PT) had they

been “properly trained” would have observed that there was a felony in the
process of kidnapping, assault & battery & should have arrested (D) Scott
instead of arresting (PT) for outstanding misdemeanor warrant-issued day
before. ECF 40, index of exhibits, Ex 26 pg 1-2 AFFIDAVIT (PT) See 3"
Amended complaint ECF which must be accepted as true: ECF 55.

1) “ On 7/8/21 (PT) went to (D) STI 6006 Rinke Ave Warren MI to retrieve
Silverado at about 8.30 AM.

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2) (D) Hertz Brother &/or employee (D) Sullivan stalled (PT) per earlier
agreement with (D) Scott-for approximately 30 minutes pretending like (D)
could not find (PT) Silverado.

3) (PT) was told to wait in STI garage and (D) Scott arrived and attacked
(PT) ..in (D) STI garage and physically restraining (PT) while (Ds’) Hertz
Bros &/or Sullivan watched

4) (PT) yelled “what are you doing”? (D) SCOTT said “I am doing a citizens
arrest, there is warrant out for you for housing violations.”

5) (PT) told (D) Scott that under MI law he could not perform a citizens
arrest for alleged misdemeanor housing violations.

6) (PT) called 911 to report kidnapping in process and assault and battery,
with (D) SCOTT knocking phone out of (PT) Thrower’s hand injuring same
after 911 operator answered-(PT) amended witness list to obtain this 911
recording. .. (D) Scott searched (PT) Aldi’s bag.

7) 7/21/21 (PT) filed police report on (D) Scott “assault and battery”,

“kidnapping” Incident #21-33784...” CLAIM NUMBER TWO

Per facts same rewritten herein (D) Scott violated (PT) US Constitutional
rights to be free from unconstitutional seizure in violation 4, 5, 14% Amendment
when (D) Scott performed “citizen’s arrest” when as a matter of law (D) Scott
was not legally allowed to. (D) Scott acted in agreement, tandem, conspiracy,
actions “inextricably intertwined”, with (D) Hertz Brothers, (D) Sandra Hertz,

(D) Randy Sullivan to detain, stall (PT) at (D) STI, call (D) Scott who rushed

over to do “citizen’s arrest”, search (PT) at (D) STI garage while (D) Hertz

Brother(s) &/or (D) Sullivan watched per agreement.”, “legality of citizen’s

arrest changes, .. arresting individual becomes subject to same

4th Améndment restrictions on search and seizure as law enforcement officers.

... inherent danger .. arresting citizen may face, that this is a rare occurrence.

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..citizen detaining another person by citizen’s arrest,... does not adhere to the

standards for legal search and seizure, the arresting citizen may face criminal

prosecution. ..citizen’s arrest is determined to be unlawful, ..arresting individual
..exposed to civil liability, and ..criminally charged ..crimes as: False
imprisonment, Assault & battery” Citizen's Arrest - .. (legaldictionary.net),
“Sec. 1983, Fourth Amendment, and False Arrests”

« Section 1983 allows a false arrest victim to sue the offending officers for a
constitutional violation under the Fourth Amendment.. false arrest serves as an
unreasonable seizure... offending officers were acting under color of state law
while conducting the arrest, Section 1983 enables the victim to file a civil lawsuit.”
Civil Rights Protections & False Arrest By Police (federalcriminallawyer.us)

Respectfully submitted,
Albert Thrower pro’se _ Elizabeth Nelson pro’se

CERTIFICATE OF SERVICE

A copy of this brief has been served on the below (Ds’) 7/15/24, Mark
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Albeft Thrower, pro se Elizabeth Nelson pro se

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INDEX OF EXHIBITS

EXHIBIT 1 Judge Chumra 7/7/21 Order 37 District Court Warren
EXHIBIT 2 Lease: PN-Plaintiff Elizabeth Nelson

EXHIBIT 3 Lease: PT=Plaintiff Thrower

EXHIBIT 4 8/1/21 Menards Mower Receipt

EXHIBITS STI 2008 Honda Receipt $330 dated 7/7/21

EXHIBIT 6 STI 2011 Silverado Receipt dated 7/7/21

EXHIBIT 7 Regal Tire Receipt dated 7/16/21 “towed in”- flat tire @ STI Tow
Yard $75

EXHIBIT 8 Pic (D) Mayor Fouts, (D) Robert Scott

EXHIBIT 9 p 1-2 3/11/20 pic of furnace taken after illegal entry into (Ps’)
basement apartment

EXHIBIT 10 p 1-2 3/11/20 pic in (Ps’) basement apartment after illegal entry
EXHIBIT 11 p 1-4 3/11/20 pic (Ps’) besement spartment after illagal entry
EXHIBIT !2 NILI 2011v City of Warren, EDMI class action

EXHIBIT 13 7/14/21 Warren Weekly “Warren tracks down ‘bed landlord’”,
“Warren Mayor (D) Jim Fouts said”.

EXHIBIT 14 Mail for (P) Elizabeth Nelson to 7568 Hudson Ave Warren MI
48091

EXHIBIT [5 “Fire Pit ordinance stands in Warren”, dated 5/12/21, yet city (Ds’)
take (Ps’) grill 7/7/21, $75

EXHIBIT 16 List of Expenses Incurred so far as of 11/24/23

EXHIBIT 17 (PN) Driver’s License showing 7568 Hudson Ave Warren MI 48091
EXHIBIT 18 Photo at (D) STI Tow yard (PN) Honda “blight” on windshield
EXHIBIT 19 Mower @ scrapyard-since (Ds’) threw upside down in (PT) truck
EXHIBIT 20 (D) City of Warren bill for unidentified work 3/24/20 during covid,

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EXHIBIT 21 (PN) Honda @ Speedway Gas station after removal from STI tow
yard-shows “operable”

Exhibit 22 Haman v Dwyer et ai., EDMI Case #11-13587, shows false arrest-not
training officers,“pattern”  - cone

Exhibit 23 | March 2022 Warren Flyer, (D) Fouts, “Prepared not Scared”

Exhibit 24 pg 1-2 (D) Mayor Fouts, Press Release -references “State of the City
reception June 24, 2021”, getting city employees fired up which led to (D) Scott
attacking (PT) @ STI Tow yard

Exhibit 25 pg 1-3 Affidavit of Elizabth Nelson (two affidavits)
Exhibit 26 pg 1-2 Affidavit of Albert Thrower
Exhibit 27 pg 1-13 Agreement spells out that Warren Police Commissioner Dwyer
is “policymaker”
Exhibit 28 PRESIDENT TRUMP CORONAVIRUS GUIDELINES 3/16/20
Me Exhibit 29 Pic of (PT) 2011 Silverado towed 7/7/21 pg 1-2. — SAowsr Crp—

Exhibit 30 2-6-20, amended 32 pges. 3-10-20 Michigan Governor Whitmer “covid
emergency order”
Exhibit 31 Cleveland MetroHealth Cancer documentation 3/20 for (P) Thrower

Cade - Exhibit 32 Picture SIDE DOOR where (Ds’) entered 7568 Hudson Ave 2 pages
Exhibit 33 Deed, and side lot transfer “St Anthony the Great Monastery”

Exhibit 34 Deed shows Saint Anthony Monastery owns property
Exhibit 35 “Other acts Warren police”, shows “pattem”, “This video sickening” CCE

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STATE OF MICHIGAN
iN THE 37™ JUDICIAL DISTRICT COURT

CITY OF WARREN
“ , ¥ 280e0es

Y OrzroVs

¥ Case No. YY 927633
, - edohe.M. Chomare

At a session of said court held in the
City of Warren, County of Macomb and State of Michigan
on O77 2021.

Present: Hon. ;
District Court Judge

Thie matter having been heard on OTO7i2024 , for violation of the

Clty of “varven Section(s)

Ordinances, and Defendant heving appeared before this Court, and been found

responsible for the viciation(s), this Court orders that the property be claaned es more

particularly set forth in thie Order, and Court being otherwise duly advised ine
IT 18 ORDERED, thet within Today ( ) daye of this Order, Defendant shall

comply with the conditions set forth in this Onder. The property le described se:

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Case 2:22-cv-10918-MFL-APP ECF No. 39, PagelD.490 Filed 09/26/22 Page 84 of 100

‘The entire Property is to be cleaned and cleared of_All debris Including,

any end ail junk and debria sostiered on or about the front, reer, and bide yards of the
Property, and any overgrown or dead vegetation, from the Property and/ér the fences.

IT 8 FURTHER ORDERED, that in the event the Defendant falls to comply with
the above requirements, the City of Warren may enter the Property and conduct any
work necessary to comply with thie Order.

IT 18 FURTHER ORDERED, that the Cy may sseses and collect all costs of
such work necessary to comply with this Order, and may aeeees and collect all costs of
such work end removel from the Defendant or otherwise lien the Property through any
lewtul remedy.

IT 18 FURTHER ORDERED, that Defendent pay fines and costs in the amount of
31
IT 1S FURTHER ORDERED, thet Defendant may be held in contempt of Court
for the fature to comply with this Order, and may be ordered to appeer before this Court
and show cause why he should not be held in contempt of this Court and subject to
penalty of this Court.

Thie Court shell retain juriediction to enforce the provisions of thie order.

Case 2:23-cv-11597-BRM-CI ECF No. 67, PagelD.748 Filed 07/15/24 Page 30 of 69

Case 2:23-cv-11597-BRM-Cl_ ECF No. 40, Pegg ree name Mahe seers Case 2:23-cv-11597-BRM-Cl ECF No. 40, PagelD.439 Filed 11/30/23 Page 360f100

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Case 2:23-cv-11597-BRM-CI ECF No. 40, PagelD.441 Filed 11/30/23 Page 38 of 100

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| landlord’

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WARREN — A “bad landlord”
with dozer of outstanding: tickers for
blight at several propertics wes: #port-
edly arrested hy Warren police-on july
8 after a “24-hour stakeour” ac arental
home on Hudson Avenue. west of Vain
Dyke Avenue.

“This chronic out-of-emed land-
lord is a resident of Cleveland; Ohio,”
Warren Mayor Jim Fouts said.

Announcing the arrest on Face-
book, Fouts added, “His hocecs are
despicable and clearly’ Dligheod?”

* According to the mayor, dhe aan
had 69 ourstanding tickets selpred to
allegedly blighted homes over the last
three years. Vivlations. of ‘dhe Inver-
national Property Maintceance Code
were also cited. -

Fouts said Public Service. Divec-
tor Gus Ghanam, Warren Pyoperty
Maintenance ce Division Supervisor
Bob Scott and Building Depderment
Director Jim Cummins wese Meo i in-
volved in the investigation. _

A source said the effort to ap-
prehend the landlord began on July
7 and culminated witli hig ardest at a
city tow yard, where his vehickes bad
7“ been taken.

Fouts said the city curently has
a list of seven or more “chronic land-
fords” facing similar violations. Thc
mayor said fighting blight anid boki-
ing rental property owners account-
able were among the pledges he made
during his State of the City remarks
fase month. :

The man was nor identified

ahead of his expected arraignment in
the 37th Diserice Court on Juiy N, af-
ter the Warren Werkly went to press.
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story on Facebook @Warren Weekly.
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the lew. Mr. Thrower hes been convicted of feud, mell conspirecy, end
mall fraud emong other things.

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{em very proud of the greet work of our property maintenence
employees end police officers. We heve e list of at least seven more

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AFFIDAVIT OF PLAINTIFF ELIZABETH NELSON
Now comes the affiant under the penalty of perjury per 28 USC Section 1746 and avers:

1), Everything Is true ia the CoMmpiaiat unt sxnmded complaints end motion for summary
jedigonent same os if rewrkun herein

2) All exhibits ore copies of originals

3) Affiant was ia Obio when notified cers missing, “self isolating” since she is deemod “st
risk” for COVID 19

4 Doctor @ Basten Michigan told afflent “do act come t Michigan becouse everything is
going coany because of COVID 19.

5) Affient contacted ALBERT THROWER who was “self iscleting being tented for
prostate cancer at METROHEALTH CLEVELAND OHIO, to drive her to WARREN
MICHIGAN to setriove her vehicles

6) Affient was terified to travel to Michigan end have to interact with people while the
COVID 19 was raging.

Mn On 9/5/21, affient took on smbulance © ASCENSION HOGPITAL 12 Mile & Hoover
J and was edeaitted for an infection.
8) Affiant pulled her 2008 Honda Civic bebind house at 7568 Hudson Ave Warren Mi.
9) Honda wes operable
o/ 10) Affiant was informed by ALBERT THROWER-LANDLORD THAT Warren Police,
SERVICE TOWING INC., ROBERT SCOTT, JAMES CUMOGINS, AND OTHERS
J HAD TOWED HER CAR.

11) Upon obtaining release of ber car afflent nctice thet paiat wes missing where SERVICE

TOWING INC., had towed her car foun the rear

112) When towing her car, Warren Building lnapector sad Robart Scott took her mower,
WEBER, grill, which pursuant to CITY COUNCIL ORDANCE 4/28/21 she was allowed
wohave. AfSent never secelved grill beck end mower wes broken when retrieved from
Service Towing lnc., since throws upside dows in lendiceds 2011 Silvesndo which was
towed at the sume thus.

13) Affiant needs DISCOVERY to name defendants that towed affients cars 5/1/20 for
lability, intersegatories, compenention & authenticate “chain of evidence” matters

Pursuant to Title 28 USC Section 1746 the affient avers wader te passlty of perjury that

. 67, PagelD.761 Filed 07/15/24 Page 43 of 69

nO BDS-Cv-E1597-BRM-ET-EEF-No-40- Paget 460—Fited- £30728 Page 6S of 100—— - —

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AFFIDAVIT OF PLAINTIFF ELIZABETH NELSON
Now comes the afflent onder 28 USC Section 1746 “I declare (or certify, verify, or state) under

same os if rewritten herela

1) All exhibits ave copies of originals and all facts are true in the complaint same an if
sowritecn herein

2) AfSient wes in Cleveland Ohio when notified cars missing, “self-leclating” since she is
deemed “at risk” for COVID 19

3) 4/25/20 Doctor @ Esstern Michigan told affient “Do not come to Michigan becomes
everything is going crazy because of COVID 19.

4) Affient contacted ALBERT THROWER 5/3/20 who was “self-isclating™ being treated
for prostate cancer METROHEALTH CLEVELAND Ohio, to drive her to WARREN
MICHIGAN ¢o retrieve her 4 vehicles

5) Affiant was terrified to travel to Michigan and have to interact with people while the
COVID 19 was raging.

6) On 7/5/21, afflent took om ensbulence to MACOMB ASCENSION HOSPITAL 12 Mile
& Hoover and wes admitted for an infection.

7) Affiens piled her 2008 Honds Civic behind house at 7568 Hudson Ave Warren Mi.

8) Hoada wes operable 7/7/21 as it wes driven away from (S) SERVICE TOWING INC. see
Ex I pic @ SPEEDWAY GAS STATION MOUND AFTER TOWING RELEASE

9) Affiant wes infonned by ALBERT THROWER-LANDLORD THAT Warren Police,
SERVICE TOWING INC., ROBERT SCOTT, JAMES CUMMINS, AND OTHERS
were in the process of towileg her car having a view from the basement 7/7/21

10) Upon obtaining release of her car affient notice that paint was missing Ex | where
SERVICE TOWING INC., had towed her car from the rear of auto es ALBERT
THROWER Ex L Affidevit heard (D) Service Towing Inc. state they had to tow (P)
vehicle as same wes parked behind house

It) When towing ber car, defendants Warren Building Inspector JAMES CUMMINS,
GHANAM, GAUSS, Robert Scott took her mower, WEBER grill, which pursuant to
CITY COUNCIL ORDANCE 4/28/21 see Exh DD WARREN WEEKLY MAY 12,
2021. “Fire pit ordinance stands in Warren” she wes allowed to have. A fiiant never
Towing inc., since thrown upside down in landiurds 2011 Silverado which was towed ut
the sume time. Seo Ex afffiant purohased aew raower from Menards

12) Plaintiffs 2008 HONDA wes marked “blight” on the windshield by the defendants

13) Affinnt wes sever served with any infraction es w bor 2008 Honda, WEBER GRILL,
and lawn mower when samme takes 7/7/21.

14) (P) bad an agreement w landlord A THROWER mow lewa @ 7568 Hudson Ave., and
Gefersiants took her mower. Mower was lester observed upside down in landlord

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Detroit Hree Press

MACOMB
'This video Is sickening,’ attorney says of
Detroit teen punched, kicked by Warren

police

Christina lial
Detroit Free Press

Published 5:46 p.m. ET Oct. 12, 2022 | Updated 8:29 p.m. ET Oot. 12, 2022

‘Tyler Wade's attorney said his teenage client was repeatedly punched, kicked and stomped
by Warren police officers in a vicious attack after a chase in Jane that began in Warren and
ended in Ferndale. :

And attorney James King said it’s ell on police body camera footage that he released
Wednesday, one day after he filed a federal lawsuit on behalf of the Detroit teem. A civilian
aleo recorded the incident.

* ,Case 2:23-cv-11597-BRM-CI ECF No. 67, PagelD.769 Filed 07/15/24 Page 51 of 69

Case 2:23-cv-11597-BRM-CI ECF No. 67, PagelD.770 Filed 07/15/24 Page 52 of 69

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Case 2:23-cv-11597-BRM-CI ECF No. 57, PagelD.645 Filed 06/12/24 Page 38 of 41

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STATE OF MICHIGAN CASE NO.
37TH JUDICIAL DISTRICT MISDEMEANOR YO2R065 / YO28048
OR Court address Court no.
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Cl The Stata of Michigan | ALBERT THROWER CITY OF WARREN
IE witness
CITY OF WARREN CLEVELAND OH 44102-1828 JAMES CUMMINS
Co-datendart{s) Date: On of abot
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Gtty/Twp.Milege County in Michigan Defenden TCN Defendant CTN Defendant SID Defendant DOB
WARREN MACOMB WM —
Police agency mport no. Charge , Maximum penatty
Y¥028065 / Y028048 CT 1- FAILURE TO OBTAIN CITY CERTIFICATION
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CT II - JLLEGAL OCUPATION OF POSTED = ate eee eam
VACANT HOME - ZONING CODR 22.116

CT I- UNLAWFUL OCCUPATION OF UNSAFE

STRUCTURE 28-2(109)

STATE OF MICHIGAN, COUNTY OF MACOMB

The complgining witness says that on the date and at the location described, the defendant, contrary to law,

CTl

Committed at least two violations of failure to obtain city certification for residential rental property af 7568 Hudson, City of
Warren, Michigan, pursuant to section 22. {Ja of the Code of Zoning Ordinances of the City of Warren, Michigan

CTH

At least two violations of illegal occupation of residential home posted for no occupancy: at 7568 Hudson, Warren, Michigan
pursuant to section 22.11{ e} of the Code of Ordinances of the City of Warren, Michigan

CT
Unlawfully allowing oces

CT Iv

y of a unsafe residential structure posted for no occupancy: at 7568 Hudson, Waren, Michigan
in violation of section 28-2(109) of the Code of Ordinances of the City of Warren

Failure to comply with obey the administrative hearings officers’ orders to pey fine or cost inmposcd under 2.5-7{a)(2)
pursuant section 2.5.8 of the Code of Ordinances of the City of Warren, State of Michigan.

Fhe complaining witness asks that defendant be appranended and deait with according to law.

(Peace Officers only) | daciare that the statements above are true to the best of my information, knowledge, and belief.

Warrant authori.ed on

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by.

Date
Prosecuting official te { 7? °

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EX ST poP 7
" Gase 2:23-cv-11597-BRM-Cl ECF No. 67, PagelD.782 Filed 07/15/24 Page 64 of 69

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028065 / Y028048 ler. FASLURE TO OBTAIN CITY CERTIFICATIO:

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CT I - ILLEGAL OCUPATION OF POSTED

VACANT HOME - ZONING CODE 22.118

CT I- UNLAWFUL OCCUPATION OF UNSAFE

STRUCTURE 28..2(108)..

STATE OF MICHIGAN, COUNTY OF MACOMB
To any peace officer or court officer authorized to make an atrest: “The complaining witness hes filed a swom complaint
in this court stating that on the date and the location described, the defendant, contrary to law,

CTI
Committed at keast two violetions of failure to obtain city certification for residential rental property at 7568 Hodson, City of

Warren, Michigun, pursuant to section 22.118 of the Code of Zoning Ordinances of the City of Warren, Michigan

Ci

At least two violations of illegal occupation of residential home posted for no occupancy: at 7568 Hudson, Warren, Michigan
punsuant to section 22.11( ¢} of the Code of Ordinances of the City of Warca, Michigan

cT Ww

Unlawfully allowing oveupsocy of a unsefe residential structure posted for no occupancy: at 7563 Hudson, Warren, Michigan
in violation of section 28-2(}09) of the Code of Ordinances of the City of Warren

CTIV
Faifure to comply with obey the administrative bearings officers’ orders to puy fine ox cost imposed undes 2.5-7{a}(2) pursuant

section 2.5.8 of the Cade of Ordinances of the City of Wann, State of Michigan.

Upon examination of the corepiaint, | find probable cause to believe defendant carmnmitted the offense set forth.

THEREFORE, IN THE NAME OF THE PEOPLE OF THE STATE OF MICHIGAN. 1 order you to arrest and bring defendant before
the court immediately, or the defendant may be released when a
for personal appearance before the court.

SH 07205 (SEAL)

Date
By virtue of this warrant the defendant has been taken into custody as ordered.

Date

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Case 2:23-cv-11597-BRM-CI ECF No. 67, PagelD.783 Filed 07/15/24 Page 65 of 69

AFFIDAVIT IN SUPPORT
Now comes the affiant under the penalty of perjury and avers:

1) At 7568 Hudson Ave Warren MI 48090 since approximately 2019 there was
a gate across the driveway where each half swung open.

2) The tenant BRANSON did not have a car so there was no need for
BRANSON to open or close the gate because there was a 2™ gate to walk
through.

3) Branson was instructed to keep the gate(s) closed.

4) The gates are shown in exhibit 32 pg. 2, annexed hereto, same as ECF 40 Ex
32 pg. 2, Ex 36 pictures. The Ex 36 pictures were taken 7/11/24 after
property was sold and the new owner removed the gate.

5) There was a “privacy fence” built with (D) city of Warren permit where
zoning ¢mployee Bagdamente instructed affiant that privacy fence had to be
inline with the main structure of house.

6) Per Ex 36 photos the yard was completely fenced in.

7) There was a “no trespassing sign” posted on the privacy fence that became
faded after time similar to the Ex 38 picture.

8) 2008 Honda bumper is torn underneath and needs to be replaced per
witnessed proffered for trial and it is the opinion of witness that towing of
2008 Honda from the rear torn the bumper underneath in 2 places per
conversation with witness.

9) Per (D) STI, Hertz Bros (Ds’) the tickets annexed to ECF _, unlabeled and
annexed hereto as Ex 37 pg. 1-5 were all issued the same day 7/7/21 the day
the 2 cars were towed or Ex 37 pg. 3=7/8/21 the day after so as to not be
relevant except to show that (Ds’) returned to property to write the same
tickets'again. Per para 10, infra, (PN) Honda was parked on the cement
behind the house & was “operable”.

10) (PN) was in Ascencion hospital having travelled there by ambulance
the day before 7/6/21

Exhibit3G pg 1

Case 2:23-cv-11597-BRM-CI ECF No. 67, PagelD.784 Filed 07/15/24 Page 66 of 69

The normal procedure per Warren code is write a ticket if car is parked on the grass and allow
the violator to appear in an administrative hearing NOT tow the car on grass the same day
“without notice and an opportunity to be heard”, Mullane v. Central Hanover Bank & Trust Co.,
339 U.S. 306 (1950)

“Notice must be reasonably calculated under the circumstances to inform
interested parties of a pending action and give them an opportunity to respond.”

11) Per covid Michigan & Warren had “stayed” all evictions, including
3/10/20 eviction of tenant BRANSON, per “occupying an uncertified
structur¢ ticket”. 7568 Hudson Ave was owned by St Anthony the Great
Romanian Orthodox Monastery ECF 40, Ex 33-34, deed for both parcels,
not plaintiffs (Ps’)-affiants

12) Anyone on property behind fence 7568 Hudson Ave would be deemed
“trespassers” by affiants

Affiant aver under the penalty of perjury per 28 USC Section 1746 that everything
is true above in affidavit

7/14/24

Exhibit 3& pg 2

Case 2:23-cv-11597-BRM-CI ECF No. 67, PagelD.785 Filed 07/15/24 Page 67 of 69

AFFIDAVIT IN SUPPORT
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Exhibit 3 q pg 1
Case 2:23-cv-11597-BRM-CI ECF No. 67, PagelD.786 Filed 07/15/24 Page 68 of 69

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7/14/24

Exhibit 37 pg 2
Case 2:23-cv-11597-BRM-CI ECF No. 67, PagelD.787 Filed 07/15/24 Page 69 of 69

